    Case: 1:17-cv-00937 Document #: 15 Filed: 02/08/17 Page 1 of 1 PageID #:166



                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

SCIENTEL SOLUTIONS, LLC,                              )
                                                      )
             Plaintiff,                               )
                                                      )       Case No. 17-CV-00937
             v.                                       )
                                                      )       Judge Joan B. Gottschall
RICHARD SEIFF,                                        )
                                                      )
             Defendant.                               )

                                             ORDER

      By agreement of the parties, it is hereby ordered:

             1. Defendant Richard Seiff shall not use, disclose, or disseminate to any third

                  party any Scientel documents, computer files, data or other information in

                  electronic or tangible form that is in his possession, custody, or control;

             2. Counsel for Mr. Seiff shall arrange for forensic images to be made of Mr.

                  Seiff’s laptop and Toshiba hard drive. After imaging, any deleted files on the

                  computer and hard drive shall be permanently purged and the laptop and hard

                  drive may be returned to Mr. Seiff; and,

             3. Counsel shall confer in good faith to develop a protocol for the examination of

                  documents and data captured by the forensic images.



Date: February 8, 2017                                       /s/
                                                      Joan B. Gottschall
                                                      United States District Judge




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